
Judgment affirmed. See journal entry.
It appearing that Section 8897, General Code, is mandatory in its terms both upon the municipality and the railroad company, and that notice to the railroad company could not relieve either the com-, pany or the. municipality from compliance with the terms thereof, and it further appearing that the railroad company has had its day in court for the determination of the reasonableness of the overhead crossing construction and the reasonableness of the cost thereof, the court finds that said Section 8897, General Code, is not in conflict with the constitution, of the United States or the constitution of the state of Ohio.
It is therefore ordered and adjudged by this court, that the judgment of the court of appeals be, and the same is hereby,' affirmed, * * * .
*497And it is further ordered that said cause be remanded to the common pleas court of Hamilton county, with directions to overrule the demurrer to plaintiffs’ petition and for further proceedings according to law.
Nichols, C. J., Johnson, Donahue, Wanamaker, Newman, Jones and Matthias, JJ., concur.
